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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)




                                        UNITED STATES DISTRICT CouR'SE
                                                                            for the

                                                                      District of Connecticut

                                                                       Civil Division



                                                                                      Case No.
                      Henry W. Pascarella                                       )
                     A verardo P. Pascarella                                    )
                                                                                )
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.            )
If the names ofall the plaintiffs cannot fit in the space above,                )     Jury Trial: (check one)   ~ Yes   O No
please write "see attached" in the space and attach an additional               )
page with the full list of names.)                                              )
                                  -v-                                           )
                                                                                )
                                                                                )
                                                                                )
                                                                                )
                     Alfred J. Jennings, Jr.                                    )
                             Defendant(s)                                       )
(Write the full name of each defendant who is being sued. If the                )
names of all the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the full list of names. Do not include addresses here.)



                                  COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                            (Non-Prisoner Complaint)


                                                                          NOTICE

    Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
    electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
    security number or full birth date; the full name of a person known to be a minor; or a complete financial account
    number. A filing may include only: the last four digits of a social security number; the year of an individual's
    birth; a minor's initials; and the last four digits of a financial account number.

    Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
    other materials to the Clerk's Office with this complaint.

    In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
    forma pauperis.




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I.        The Parties to This Complaint

          A.         The Plaintiff(s)
                                                                                                                  s
                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                          Henry W. Pascarella
                           Address                                       200 Leeder Hill Drive, Apt. 307
                                                                         Hamden                                 CT                  06837
                                                                                      Citv                     State               Zip Code
                            County                                       New Haven County
                            Telephone Number                             NB (Mr. Pascarella is "unabl_e to manage his own affairs")
                            E-Mail Address                               contact: A.Pascarella 1-917-771-2511 aldo@pascarellalaw.com

           B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known) and check whether you are bringing this complaint against
                     them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                      Defendant No. 1
                            Name                                         Alfred J. Jennings, Jr.
                            Job or Title (if known)
                            Address                                      112 Old Mill Road
                                                                         Fairfield                              CT                 06824
                                                                                      Citv                     State               Zip Code
                            County                                       Fairfield
                            Telephone Number
                            E-Mail Address (if lcnown)

                                                                         IZJ Individual capacity           IZJ Official capacity

                      Defendant No. 2
                            Name
                            Job or Title (if known)
                            Address

                                                                                      Citv                     State               Zip Code
                            County
                            Telephone Number
                            E-Mail Address (if known)

                                                                         D Individual capacity             D Official capacity

                                                                                                                                              Page 2 of 6
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Pro Se I 5 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)


                      Defendant No. 3
                            Name                                                                        s
                            Job or Title (if known)
                            Address

                                                                                    Citv              State             Zio Code
                            County
                            Telephone Number
                            E-Mail Address (if known)

                                                                          D Individual capacity   D Official capacity

                      Defendant No. 4
                            Name
                            Job or Title (if known)
                            Address


                                                                                    Citv              State             Zio Code
                            County
                            Telephone Number
                            E-Mail Address (if known)

                                                                          D Individual capacity   D Official capacity
II.        Basis for Jurisdiction.

           Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
           immunities secured by the Constitution and [federal laws]." Under Bivens v. Six Unknown Named Agents of
           Federal Bureau of Narcotics, 403 US. 388 (1971), you may sue federal officials for the violation of certain
           constitutional rights.

           A.         Are you bringing suit against (check all that apply):

                       D Federal officials (a Bivens claim)
                       IZ! State or local officials (a & 1983 claim)

           B.         Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                      the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                      federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?
                       Equal protection under law. Fair trial.




           C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                      are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                      officials?


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                                                                                               s
          D.         Section 1983 allows defendants to be found liable only when they have acted "under color of any
                     statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia."
                     42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                     of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                     federal law. Attach additional pages if needed.
                      Acted as an employee of the State of Connecticut, Judicial Branch




UL       Statement of Claim

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.


         A.           Where did the events giving rise to your claim( s) occur?
                      Stamford, Connecticut




         B.           What date and approximate time did the events giving rise to your claim(s) occur?
                      2009-2022




         C.           What are the facts underlying your claim(s )? (For example: What happened to you? Who did what?
                      Was anyone else involved? Who else saw what happened?)

                      While never revealing his prior professional affiliation with a law firm opposed to Henry W. Pascarella
                      in litigation since 1974, Jennings issued a series of judicial decisions enabling a non-performing
                      counterparty to a contract to maintain unlawful liens on a commercial property for 19 years and caused
                      other damage while acting under color of state law and in the employment of the State of Connecticut.




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IV.      In.juries                                                                          s
         If you sustained injuries related to the events alleged above, describe your injuries and state what medical
         treatment, if any, you required and did or did not receive.
          Money and other damages to be claimed in future amended complaint.




V.       Relief
                                                                                                             ,

         State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
         If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
         the acts alleged. Explain the basis for these claims.
           Equitable and other relief to be sought in future amended comlaint.




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VI.      Certification and Closing                                                                          s
         Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best ofmy knowledge, information,
         and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
         unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
         nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
         evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
         opportunity for further investigation or discovery; and ( 4) the complaint otherwise complies with the
         requirements of Rule 11.



         A.           For Parties Without an Attorney

                      I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                      served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                      in the dismissal of my case.


                      Date of signing:                    March 21, 2022


                      Signature of Plaintiff                   (APPEARING PRO SE)
                                                                                            //     /<J           / f(
                                                                                           /,<fJ-1. (i<t/2 {_,,.~ , ~<J; ~
                      Printed Name of Plaintiff                Henry W. Pascarella

         B.           For Attorneys

                      Date of signing:                    March 21, 2022


                      Signature of Attorney                    (APPEARING PRO SE)"1-w4'
                      Printed Name of Attorney                 Averardo P. Pascarella
                                                              -------------------------
                      Bar Number                              420371
                                                              -------------------------
                      Name of Law Firm                        The Pascarella Law Firm PC
                                                              -------------------------
                      Address                                  200 Pemberwick Road, Box 1
                                                               Greenwich                                 CT        06831
                                                                                 Citv                    State    Ziv Code
                      Telephone Number                         1-917-771-2511 cell
                      E-mail Address                           aldo(a),pascarellalaw.com




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                            EXHIBIT A
                            LIABILITY
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                                                                                         I J • ,..•., i   '..!   I~)   •. ;· • ·::
                                   ZELDES, NEEDLE                 6t COOPER
                                            ATTORNEYS    AT       LAW


JACOB   0. ZELDES
ELAINE $. AMENDOLA
CHARLES M. NEEDLE                                                                 333 STATE STREET
ROBERT S. COOPER                                                         BRIDGEPORT, CONNECTICUT 0 6 6 0 4
L.   DOUGLAS    SHRADER
                                                                              TELEPHONE (203) 333 • 9441
LAWRENCE       W.   KANAGA   Ill
ALFRED   J. JENNINGS. JR.

STUART    BEAR




                24 May 1974



                Magill 0 Badger 0 Fisher
                Cohen & Barnett
                49 West Putnam Avenue
                Greenwich 0 Connecticut

                Re~      Sara Farley Loken and Geraldine B. Farley vs.
                         Magill 0 Badgeru Fisher 0 Cohen & Barnett and
                         Henry W. Pascarella

                Gentlemen~ -

                We have been retained by Mrs. Sara Loken and Mrs. Geraldine
                Farley in connection with a claim against the firm of Magill1
                Badger, Fisher. Cohen & Barnett and Henry W. Pascarella.
                Tllis claim arises out of the actions of Magill, Badger,,
                Fis11er O Cohen & Barnet·t ax1d Mr Pascarella in. tl1e ~cepr..·c;;:;c~~,-,_ /·~ti.t :1.c:;rt
                                                              O



                of Mrs Loken and Mrs Farley during anc1 subsec1t1er1 t: ·tc; t·J1c:;
                             o                O



                winding up of the Estate of Colvin Farley"

                We enclose a. draft copy of the complaint which we intend to
                serve. If you would like to discuss this matter with us at
                our office prior to the service of the complaintu please
                telephone us so that we can set up a mutually convenient
                time.

                Very truty yours~



                    Charles Mo Needle
                    Cr-'.llif/rr
                    enco
                    cc~ Henry Wo Pascarella 0 Esqo

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                                       IN THE

                            UNITED STATES DISTRICT COURT

                              DISTRICT OF CONNECTICUT

 SARA FARLEY LOKENQ                                        )
 GERALDINE B. FARLEY,                                      )
                                                           )
                                     Plaintiffs            )
                                                           )
                      v.,                                  )   CIVIL ACTION
                                                           )   NO.
 HENRY W,. PASCARELLA 9 Individually and     )
 DANIEL Bo BADGER, JOSEPH W,. BARNETT, JR,.o )
 CHARLES S,,, _BRADFORD 11 BRUCE F,, COHEN 0 )

 EVERETT FISHERu BRADFORD So .MAGILL,        )
 DONAT C MARCHAND 9 MILES F. McDONALD 8 JRou )
                  0


 HENRY W PASCARELLA 9 DUNCAN Co SMITH d/b/a)
                  0


 MA~ILL 8 BADGER 0 FISHER 8 COHEN & BARNETT, )
                                                           )
                                      Defendants           )

                                            COMPLAINT

                                     Applicable to All Counts

           1.           Plaintiff Sara Farley Loken is a citizen of the State

  of Maryland,.

           2.           Plaintiff Geraldine B,. Farley is a citizen of the

  State of Maryland,.

            3,,         Defendant Henry w,, Pascarella is a citizen of the

  state of Connecticut.

            4o          Defendants Daniel B. Badger, Joseph W. Barnett, Jr.,

  Charles s. ~radfordQ Bruce F. Cohen, Evere~t Fisher, Bradford

  S   0
          Magill., Donat c .. Marchand 3 Miles F. McDonald., Jrou Henry W,,

  Pascarella, Duncan c. Smith are citizens of the State of

  Connecticut"
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         5   0    The amount in controversy exceedsa exclusive of

 interest and costs, the sum of Ten Thousand ($10,000a00) Dollarso

         60       Defendant Henry Wo Pascarella is an attorney licensed

 to practice law in the state of Connecticut.

         7,,      At all times material to this complaint defendant

 Henry W. Pascarella was engaged in the practice of law and was a

 partner in a partnership of practicing attorneys doing business

 as Parker, Badger and Fisher, and/or Magill, Badger, Fisher,

 Cohen & Barnetta

         Bo        Defendants Daniel B. Badger. Joseph Wa Barnett, Jra,

 Charles So Bradford, Bruce F. Cohen, Everett Fisher, Bradford s.

 Magill 0 Donat C@ Marchand, Miles F. McDonald, Jr., Henry W         0




 Pascarella, Duncan c. Smith are attorneys, licensed to practice

  law in the State of Connecticut and are partners in a partnership

 of practicing attorneys doing business as Magill, Badger, Fisher.

 Cohen       &   Barnette

         9.       Magill, Badger, Fisher, Cohen & Barnett is a successor

 partnership to Parker, Badger & Fisher and each individual

 partner of the successor partnership is 0 pursuant to §34-51,

  §34-52, §34~53 and §34~79 Conno Geno Stat.         (1958 Reva as
                    D



  amended) jointly and severally liable to plaintiffs for the

  damages 0 losses and injuries hereafter set forth.

 FIRST COUNT= BREACH OF FTDUCIARY DUTY

      10.          During the month of May, 1969 plaintiffs engaged the

  services of defendant Henry w. Pascarella and the firm of Parker,
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                                                  Badger and Fisher to represent them in their respective claims

                                                  against the estate of Colvin Farleya

                                                        llo          Plaintiffs executed a "contingent fee contract 11

                                                  with the firm of Paiker, Badger and Fisher, acting by

                                                  defendant Henry Wo Pascarella, in which the attorneys 11

                                                  remuneration for services rendered was to be determined on the
__ :,__:·   . ...:..   .:.....,..•   -.:...

                                                  basis of amounts recovered on behalf of plaintiffs from the

                                                  estate of Colvin Farleyo

                                                        120          In consideration of this agreement for compensation 0

                                                  defendant Henry Wo Pascarella acting for the firm of Parkeru

                                                  Badger and Fisher, undertook, as an attorney 0          to represent and

                                                  protect all plaintiffsK rights and interests in the estate of

                                                  Colvin Farley.,

                                                        130           Colvin Farley was the.father of plaintiff Sara

                                                  Farley Loken 0 and during his lifetime 0 and prior to their

                                                  divorce, had been the husband of plaintiff Geraldine Ba

                                                  Farley"'

                                                        14a          Jane B. Farley was the second wife and widow of

                                                  Colvin Farley and was the Executrix of his estate, having been

                                                  so designated under the last will and testament of Colvin

                                                  Farley,.

                                                        15     0
                                                                     At about the time plaintiffs engaged the services of•

                                                  Parker, Badger and Fisher and defendant Henry Wa Pascarella,

                                                  Jane B   0
                                                                   Farley 0 as Executrix of the estate of Co'lvin Farley,

                                                  had rendered a Final Accounting in regard to that estate in



                                                                                       -   3 ...
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                                                   s
the Probate Court for the District of Sherman, and a hearing

upo.n the approval of the Final Accounting ·was imminent.

      16.   Prior to the Probate Court hearing upon the approval

of the Final Accounting, defendant Henry W. Pascarella, acting

on behalf of plaintiffs, contacted the attorneys for the

Executrix and made objection to the proposed Final Accounting

and advanced certain claims on behalf of plaintiffs.

      17.   Among the claims advanced by defendant Henry W.

Pascarella on behalf of plaintiffs were an alternative inter-

pretation of the last will and testament of Colvin Farley, the

invalidity of the last will and testament of Colvin Farley and

the partial or total intestacy of his estate. the invalidity of

the marriage of Colvin Farley to Jane B. Farley and certain

inaccuracies in the Final Accounting.

      18.   Had these claims been pursued to a successful con-

clusion, plaintiffs' interest in the estate of Colvin Farley

could have been substantially increased and the interest of

Jane B. Farley could have been substantially decreased and/or

extinguished.

      19.   Attorneys for Jane B. Farley opposed the claims

advanced by defendant Henry W. Pascarella on behalf of plain-

tiffs and themselves asserted conflicting cl~ims on behalf of

their client.

      20.   During the months of Juneu July, August and October,

1969, defendant Henry W. Pascarella and attorneys for

Jane B. Farley conferred and corresponded frequently in an




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     effort to compromise the conflicting claims to the mutual

     satisfaction of their respective clients.

            21.   During this period of negotiation the primary

     attention of the attorneys and the parties was focused upon the

     single most substantial asset of the Colvin Farley estate,

     119 shares of common stock in a closely held Connecticut cor-

~- ,__ --poration known as Timber Trails, Inc.

            22.   For most of his adult lifetime Colvin Farley had

     been the controlling stockholder and president of Timber Trails,

     Inc.    That corporation, acting through Colvin Farley, had

     as its sole purpose the ownership, development and operation of

     a leisure-time and residential development on a tract of land

     comprising_ approximately 1500 acres located in Sherman,

     Connecticut and New Fairfield, Connecticut.

            23.   Prior to his death, Colvin Farley had managed a

     country inn located at Timber Trails and had developed

     recreational facilities for boating, fishing, horseback riding,

     tennis and skiing on the Timber Trails property.          Additionally,

     a limited number of single family residences had been con-

     structed on individual lots sold by the corporation to certain

     individuals ~ho eventually formed a voluntary association

     known as the Timber Trails Homeowners Association.

            24.   At the time of Colvin Farley's death, and

     to the present time, the Timber Trails property, which had been

     owned and controlled by the Farley family for two generations,




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   remained largely undeveloped.           It remains primarily a rural

   area of forests 8 lakes 8 streams 8 and fields of great natural

  beauty 0 and has a fair market value of approximately Five

  Million ($5 0 000uOOO.OO) Dollars.

         250     Prior to the death of Colvin Farleyu Jane Bo Farley

   owned 80 shares of the common stock in Timber Trailsv Inco plus

   an additional 148 acres of real property contiguous to the

   property owned by Timber Trailsu Inco

         260     Among the various compromise proposals discussed by

   the attorneys during their period of negotiations for a

   settlement of.the Farley estate was a "buy out" proposal under

   the terms of which there would be an agreed upon distribution

   of the assets of the estate of Colvin Farley and either (1)

   Jane B. Farley would "buy out" the interests of those making

   claim against the estate at an agreed upon price and thus

   own all the Timber Trailsu Inc"' stocku or (2) those making claim

   against the estate would "buy out" the interest of Jane Bo

   Farley in the estate of Colvin Farley as well as her personal

   stock holdings in Tim.ber Trailsu Inc., and her personal real

   estate holdings contiguous to the Timber Trails 0 Inco property,,,

   at an agreed upon price 0 and thus own all the Timber Trailso

   Inco stock as well as the contiguous property.

         27.     As the negotiations between the parties• attorneys

   were drawing to a close, Jane Bo Farley agreed to·· the following

   proposal~

         1   0
                 The assets of the estate of Colvin Farley would be

                 divided equally between Jane BG Farley and thoseu

                 including plaintiffs, making claim against the

                 estate~               -   6 -
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         O•
                                                   s
        2.    Jane B. Farley would give a one-year option to

              purchase, at a fixed price on fixed terms, all her

              interest in the Colvin Farley estate, as well as the

              Timber Trails~ Inc. stock which she previously owned

              and the contiguous real estate which she owned.

        3.    Those making claim against the estate of Colvin

              Farleyu including plaintiffs 0 would give Jane B.

              Farley a complete general release of all claims

              against her individually and as Executrix of the

              Estate of Colvin Farley.

        28.   At some time during this period of negotiations, the

  precise time being unknovvn to plaintiffs, defendant Henry W.

  Pascarella, in breach of his fiduciary duties to plaintiffs.

  commenced to represent his ovvn personal interest, rather than

  the interests of plaintiffs, and sought for himself a personal
,;1(2
:(financial benefit from opportunities which were rightfully

  opportunities of the plaintiffs.

        29.   Thus 0 on or about October 31, 1969. defendant Henry

  W. Pascarella unknown to plaintiffs ,.procured from Jane B. Farley

  for himself 0 personally 1 for the consideration of One ($1.00)

  Dollar, which consideration defendant Henry W. Pascarella paid

  personally, an option to purchase the following~

        (1)   A 148 acre parcel of land contigu6us to the Timber

  Trails, Inc. property then ovmed by Jane B. Farley individually.

        (2)   The 80 shares of common stock in Timber Trails, Inc.

  then ovv.ned by Jane B. Farley individually.




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         (3)     All common and preferred stock in Timber Trails 0

   Inco which would in the future be acquired by Jane Bo Farley

   from the estate of Colvin Farleyo

         (4)     All other assets to be acquired in the future by

   Jane B. Farley from the estate of Colvin Farley.

         30.     The option price for the stock and land was

   $415 0 000.00 0 and the fair market value of the stock and land

   covered by the option, at the time it was given by Jane B ..

   Farley to defendant Henry Wo Pascarella 0 was in excess of Three

   Million ($3,000 0 000.00) Dollarso

          31.,   This purchase option was given to defendant Henry Wo

   Pascarella by Jane B. Farley with the understanding that his

   clients 0 plaintiffs here., would accept a fifty-per cent dis-

   tribution of the estate of Colvin Fa.rleyu and release Jane B.,

   Farley from all further claims{/ both individually and in her

   capacity as Executrix of the estate of Colvin Farley, and that

   the remaining fifty per cent of the Colvin Farley estate would 0

   by agreement 0 go to Jane B. Farley.

         320     Having obtained this purchase option for himself on

   October 3lu 1969 0 defendant Henry Wo Pascarella thereafteru on
                                                 "




   Farley in exchange for receiving one half the assets of that

   estate.       He further advised plaintiffs that they should agree

   to a distribution of the remaining one-half of the assets of the




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                                                     s
 Colvin Farley estate, including 59 shares of common stock in

 Timber Trails, Inc., to Jane B. Farley and should release

 Jane B. Farley from all further claims.

        33.    In order for defendant Henry W. Pascarella to

 acquire for himself personally a controlling interest in

 Timber Trails, Inc., it was necessary for his clients to agree

 to the distribution which Henry W. Pascarella advised them to

 accept.      Plaintiffs 1 agreement to this distribution added 59

 shares of common stock in Timber Trails, Inc. to the 80 shares

 previously owned by Jane B. Farley, thereby giving Jane B.

 Farley 139 shares of Timber Trails, Inc. common stock, of

 200 issued by the corporation.

        34.    In view of the fact that defendant Henry w.

 Pascarella had previously obtained an option to purchase all of

 Jane B. Farley 8 s common stock in Timber Trails, Inc.p including

 whatever      stock she received from the estate of Colvin Farley,

 as soon as his clients agreed to the distribution of the

 Colvin Farley estate which defendant Pascarella. advised,

 defendant Pascarella assured himself of an opportunity to

 acquire a 69.5% equity ownership       0    and control of, Timber Trails,

 Inc.

        35.   At no time did defendant Henry W. ~Pascarell,-~dequately

 advise plaintiffs that he had obtained the purchase option from

 Jane B. Farley for his own personal interest and financial gain

 rather than as their representative, attorney and trustee.




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                               On the contrary, plaintiffs were led to believe and did believe

                               that defendant Henry w. Pascarella had obtained the purchase

                               option in his capacity as their attorney and for the ultimate

                               development of the Timber Trails 3 Inc. 0 property for their

                               benefit.

             ;.tn1~ --~~- ,
                       /} -7
                   '
 _ _ ,"t; ,,                    ._
                                     -· 36..    At no time did defendant Henry w. Pascarella explain
     !"("'-/-~-
()/l,1C1 ,     '
                               to plaintiffs that the purchase option which he received

                               personally was obtainedu in part 0 upon the consideration of the
                       •;"'!fi --·
                       './''relinquishment of plaintiffs I claims ag-ainst the estate of

                               , Col vin   Farley ..
                                1
                       ,,f}:
                                                At no time did defendant Henry Wo Pascarella explain

                                to plaintiffs that the purchase option he obtained had an

                                inherent value nor did he explain that the option was trans-

                        d ferrable and assignable.
                                       38.      At no time did defendant Henry w. Pascarella explain

                                that the purchase option which he obtained for himself was

                                available to plaintiffs upon the same terms, nor did he explain

                                to plaintiffs the potential opportunities and benefits which

                                might be obtained by plaintiffs by virtue of the purchase

                                option.

                                       39.      At no time did defendant Henry W. Pascarella advise

                                plaintiffs that by virtue of-his individual participation in a

                                legal transaction in which they were involved, the,y should seek

                                and obtain the advice of independent counsel to review the

                                entire transaction, including his role in it.




                                                                  - 10 -
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      40.    By virtue of specific knowledge which came to

 defendant Henry W. Pascarella solely in his capacity as

 attorney for plaintiffs, he discovered an opportunity for fin-

 ancial gain for his clients and converted this opportunity to

 his own personal advantage.

       41.   Upon the advice of their attorney, defendant Henry

W. Pascarella, plaintiffs executed a Mutual Distribution

 Agreement with Jane B. Farley pursuant to the terms of which

 Jane B. Farley acquired 59 shares of common stock in Timber

 Trails, Inc., from the estate of Colvin Farley, which, when

 added to the 80 shares of common stock in that corporation which

 she previously owned, gave her an ownership of 69.5% of the

 equity in that corporation as well as control of the corporation.

       42.   By virtue of the purchase option which he had

 obtained from Jane B. Farley prior to the execution of the

 Mutual Distribution Agreement, defendant Henry W. Pascarella

 immediately upon the execution of the Mutual Distribution

 Agreement by his clients, had the opportunity to acquire 69.5%

 of the equity in Timber Trails, Inc. as well as control of the

 co_rporation, at a price substantially less than the fair m3.rket

 value of the property to be acquired.

       43.   Thereafter, during June or July 19,o, defendant Henry

 11'7. Pascarella renegotiated the terms of his purchase option with

 Jane B. Farley, obtaining for himself, personally, p.n even more




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                                                     s
  favorable and financially advantageous opportunity to purchase

  69.5% of the equity in Timber Trails, Inc. and the contiguous

  acreage owned by Jane B. Farley.

        44.   In September 1970, defendant Henry W. Pascarella

  advised plaintiffs to transfer to him as trustee the common

  stock in Timber Trails, Inc. which plaintiffs had acquired

  from the estate of Colvin Farley pursuant to the Mutual Dis-

  tribution Agreement.

        45.   Plaintiff~, believing that defendant Henry W.

  Pascarella was acting as their attorney and trustee in all

 matters affecting all the Timber Trails        0   Inc. stock and

  property, readily agreed to transfer and did transfer their

  stock in Timber Trails, Inc. to defendant Henry W. Pascarella

  as trustee.

        46.   On October l, 1970 defendant Henry W. Pascarella

  exercised his purchase option with Jane B. Farley by means of

 which he was to acquire 69.5% of the common stock in Timber

 _Trails, Inc. plus the 148 acre contiguous parcel of land for a

  sales price of $405 000.00.
                        0           The terms of sale required an initi    j
                                                                 '
  downpayment toward that purchase price of only $25,000.00 and

  thereafter only payments of interest on the.,; remaining principal

  sum were required for a period of six years.           Payments toward

  principal, pursuant to the terms of defendant Pascarella 1 s

  contract with Jane B. Farley, were deferred until December, 1976.




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       47.    In December 1970, defendant Henry W. Pascarella

 forwarded to plaintiffs general releases to be executed by

 them in favor of Jane B. Farley which releases were part of

 the consideration for the purchase by defendant Henry W.

 Pascarella of the Farley property and stock.

       48.    Following the advice of their attorney, plaintiffs

 duly executed the general releases and returned them to

 defendant Henry W. Pascarella for transmittal to Jane B. Farley

 in connection with his closing.

       49.    On or about December 28, 19700 defendant Henry

 W. Pascarella purchased on his own account 11 69.5% of the common·

 stock in Timber Trails 0 Inc. from Jane B.Farley as well as

 the 148 acre parcel of land contiguous to the Timber Trails,

 Inc. property 0 upon the terms set forth in paragraph 46.

       50.    Defendant Henry W. Pascarella, by purchasing

 property which was involved in the transaction being handled

 on behalf of his clients 0 breached his fiduciary duty to

 plaintiffs, and acquired for himself an investment opportunity

 which should have been acquired by 0 and solely          for the

 benefit of, his clients.

        51.   As a result of this breach of fiduciary dutyu

 plaintiffs were prevented from acquiring the purchase option

  from Jane B. Farley, which defendant Pascarella instead

  acquired for himself.      Thus plaintiffs lost the valuable

  investment opportunity to acquire ownership and control of




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Case 3:22-cv-00423-VAB Document 1 Filed 03/22/22 Page 22 of 50




  all property owned by Timber Trails, Inco plus that owned by

  Jane Bo Farley.,

            52..   This breach of fiduciary duty by defendant Henry

 w. Pascarella had as its motivating intent and design the
  wilful and wanton deprivation of plaintiffs& valuable property

 ·rights and constituted a breach of his ethical and fiduciary

  duty_ to his clients amounting to malicious and wanton miscon-

  duct.,

  SECOND COUNT - FRAUD

            1 - 52.,   Paragraphs 1 - 52 of the complaint are hereby

  realleged as paragraphs 1 - 52 of the Second Count.

            53a    During the course of his representation of plaintiffs,

  defendant Henry W,, Pascarella knowingly intentionally and

  fraudulently refused to disclose to and concealed from plain-

  tiffs the opportunity available to plaintiffs to acquire the

  purchase option from Jane B .. Farleyo

            54,,   During the course of his representation of plain-

  tiffs11 defendant Henry W,, Pascarella, while c_oncealing an

  advantageous opportunity from his clients, took advantage of

  their opportunity for his own personal investment and financial
                                                     --;·

  gain ..

            55.,   In order to enhance his own personal financial

  gain defendant Henry w. Pascarella advised plaintiffs to

  compromise and relinquish their claims against the estate of



                                     - 14 -
Case 3:22-cv-00423-VAB Document 1 Filed 03/22/22 Page 23 of 50




                                                   s
   Colvin Farley in order that defendant Henry Wo Pascarella could

   obtain the purchase option from Jane Bo Farleyo

         56c     As a result of the fraud perpetrated by defendant

   Henry W., Pascarella upon the plaintiffs 3 plaintiffs were

   prevented from acquiring the purchase option from Jane B" Farley

   which defendant Pascarella instead acquired for himselfo           Thus

   plaintiffs lost the valuable investment opportunity to acquire

   ownership and control of all property owned by Timber Trailsu

   Inc. plus that owned by Jane B. Farley.

         57.,    The fraud perpetrated by defendant Henry w.

   Pascarella had as its motivating intent and design the wilful

   and wanton deprivation of plaintiffsx valuable property rights

   and constituted malicious and wanton misconduct"

   COUNT THREE - MALPPJ\CTICE

                      Paragraphs l .... 27 of the Complaint are hereby

   realleged as paragraphs 58        85 of the Third Count       of the

   Complain to

         86.,    The purchase option which Jane B,. Farley was willing

   to give in connection with the settlement of the Colvin Farley

   estate extended for a period of one year 0 could have been

   obtained for the consideration of One Dollar,,, was transferable

   and assignable and required an ultimate purchase price of

   substantially less than the fair market value of the property

   subject to the option.,



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                                                       s
       87.           This purchase option represented a valuable

 investment opportunity to plaintiffs which would have permitted

 them, at a relatively small capital investment 0 to acquire

 ownership and control of all the Timber Trails, Inc. stock as

 well as the 148 acre parcel of land contiguous to the Timber

 Trails, Inc. property.

       88.           Defendant Henry W. Pascarella while acting as

 ~ttorney for plaintiffs in all matters arising out of the

 settlement of the Colvin Farley estate, has failed to advise

 plaintiffs of their opportunity to acquire the stock in Timber

 Trails.r Inco and contiguous real estate 0 has failed to explain

 adequately the inherent value of the option agreement and the

 opportunities available to plaintiffs arising from the exercise

 of the option agreement          0   has fa.iled to explain to plaintiffs the

 true nature of his personal involvement in the transaction sep-

 arate and apart from his role as attorney, trustee and

 representative, has failed to advise plaintiffs to obtain another

 independent attorney to represent them under the circumstances.

 has failed to keep plaintiffs fully informed of what was trans-

 piring so that plaintiffs could take action to protect their

 interests       0    and has commingled his personal interests with

 plaintiffs interests.
             '

       89.           In failing to make these explanations and in failing

 to give this advice to plaintiffs, defendant Henry W. Pascarella

 failed to exercise the knowledge, skill and ability ordinarily

 possessed and exercised by members of the legal profession

 similarly situated.


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                                                   s
       90.     The failure of defendant Henry W. Pascarella to

 exercise the knowledgeu skill and ability ordinarily possessed

 and exercised by members of the legal profession similarly

 situated caused plaintiffs to lose the valuable investment

 opportunity to acquire ownership and control of all property

 owned by Timber Trails, Inc. plus that owned by Jane B. Farley.

 FOURTH COUNT - BREACH OF CONTRACT

       91 - 133.     Paragraphs 58 - 90 of the Third Count of this

 Complaint are hereby realleged as paragraphs 91 - 133 of the

 Fourth Count.

       134.     The failure of the defendant Henry W. Pascarella

 to make these explanations and give this advice to plaintiffs

 constituted a breach of the employment contract entered into by

 plaintiffs and the firm of Parker 0 Badger and Fisher 0 acting

 through its partner, defendant Henry W. Pascarella.

 PLAINTIFFS CLAIM:

       1.     FIVE MILLION ($5 8 000,000.00) DOLLARS DAMAGES.

       2.-    THE IMPOSITION OF A CONSTRUCTIVE TRUST UPON THE PROPERTY

 ACQUIRED BY DEFENDANT PURSUANT TO HIS PURCHASE OPTION, AL~D

 EVENTUAL PURCHASE u FROM JAJ.~ B. FARLEY AND A CONVEYAJ.~CE OF

 SAID STOCKS .AND PROPERTY TO PLAINTIFFS"

       3.     AS PUNITIVE AND EXEJ.vlPLARY DAMAGES 0 THE ATTORNEYS'

 FEES INCURRED BY PLAINTIFFS IN PROSECUTING THIS ACTION.

       4.     A PRELIMINARY AND PERMANENT INJUNCTION DURING THE




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                                                   s

 PENDENCY OF THIS ACTION RESTRAINING DEFENDANT HENRY W.

 PASCARELLA FROM TAKING ANY ACTION ON BEHALF OF TIMBER TRAILS 9

 INC. WHICH WOULD RESULT IN THE DEPLETION OR WASTE OF ITS

 ASSETS MTD FROM TRANSFERRING ANY ASSETS OF TIMBER TRAILS          0
                                                                       INC.

 Al~D FROM THE SALE 1 TRANSFER 0 PLEDGE OR ALIENATION OF AJ."\JY STOCK

 · rN TIIvIBER TRAILS u INC. NOW REGIS'I'ERED IN HIS NAJV.l.E OR IN THE

 NAME OF Al"\JY MEMBER OF HIS I.lVJMEDIATE FAMILY.

       Dated at Bridgeport, Connecticut this 1st day of June 1974.




                                    Charles M. Needle



                                    L. Douglas Shrader

                                          Attorneys for Plaintiffs

                                          333 State Street
                                          Bridgeporto Connecticut         06604

                                          Telephone~    333-9441




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                                                              IN THE

                                    UNITED STATES DISTRICT COURT

                                                       DISTRICT OF CONNECTICUT

         SARA FARLEY LOKEN 0                                                     )
         GERALDINE B. FARLEY 0                                                   )
                                                                                 )
                                                        Plaintiffs               )
                                                                                 )
                   v.,                                                           )    CIVIL ACTION
                                                                                 )    NO"
        HENRY Wo PASCARELLA., Individually and       )
        DAl\fIEL B" BADGER., JOSEPH Wo BARNETTu JROQ )
        CHARLES So BRADFORDu BRUCE Fo COHENu         )
        EVERETT FISHER 0 BRADFORD S MAGILLu          )          0


        DONAT Co MARCHAND 0 MILES Fo McDONALD 0 JRo,)
        HENRY W. PA.SCARELLA,, DUNCAN C.. SMITH d/b/a)
        MAGILL 0 BADGER, FISHER 0 COHEN & BARNETT,   )
                                                                                 )
                                                        Defendants               )

                 APPLICATION FOR PRELIMINARY INJUNCTION

              Pursuant to Rule 65 1 Federal Rules of Civil Procedure,

         and upon the verified complaint hereto attached 0 plainti:cfs
                         - . •"".::::·.•:,~'.~~::·:.

        respectfully move the Court to enter a preliminary injunction

         against defendant Henry w. Pascarella, his agents, servants,

         employees attorneys 1 partners and all persons in active

         concert or participation with him, restraining them from

         taking any action on behalf of Timber Trails 0                              Ince which

        would result in the depletion or waste of its assets, and

         from t~ansferring any assets of Timber Trails, Inc.,, and from

         the sale, transfer 0 pledge or alienation of any stocks in

         Timber Trails 0 Inco now registered in his name.




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                                          PLAINTIFFS



                                          By_ _ _ _ _ _ _ _ _ _ _ _ __
                                                 Charles M. Needle


                                           ----------··-······-- ·-···- ·-···
                                                 La   Douglas Shrader

                                           Attorneys for Plaintiffs

                                               333 State Street
                                               Bridgeport, Connecticut
                                               Telephone~   333-9441
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                            EXHIBITB
                            DAMAGES
                           Case 3:22-cv-00423-VAB Document 1 Filed 03/22/22 Page 30 of 50



                                                            Res Judicata Decision Timeline and Related Litigation

                   !                           PASCARELLA, JBIENRY Et All v. Sl!LVER., R.OBER.T Et Al {File Date: 08/15/2016)

                   I                           JPMORGAN CJBIASE v. PASCARELLA, mENR.Y W, AS TR.. {File Date: H/05/2018)                                                                                         No decision on ires jm:llicafa :

                   J                           NORTHJEA§T COMMUNITY BANK v. WlBI PARCEL Il, LLC (File Date: 01/15/2019)

                   i                           R..S. Sl!LVER ENTER.PRll:SES v. Rll:VERSEDGJE PARTNERS (File Date: 08/30/2019)

                   ~                           READYCAP COMMERCIAL, JL!LC v. Wlfll PARCEL JI, JLLC (File Date: l0/3l/20Jl.9)



                                                             2016                                       2017                                                         2018                                           2019                                2020
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PASCARELLA, HENRY Et Al v.
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SILVER, ROBERT

       FST-CV16-6029S29-S                          1
     CO.MPLAINT - Single count, seeking            -
    DeclaratoryJztdgmeJl1 on resjudicata 8/15/2016
 MOTION FOR SUMMARY JUDGMENT
                                         #J    ll/15/2016
       First Decision Denying Mallon for
                      Summary Judgment          615/2017
 Appellate Court deems Decision # I not a
                          'final' der::;sion    7/1912017

           Discovery dipules and motions
  RENEWED MOTION FOR SUMMARY
                              JUDGMENT          5/15/2018
    Decision Denying Special Defenses to
                         Counterclaims          9IIV20lS

           Discovery dip11/cs and motions
   TlUAL ON MOTION FOR SUMMARY
                     JUDGMENT                   1/14/2020
JPMORGAN CHASE v.
PASCARELLA, HENRY W, AS                            2
TRUSTEE Et Al                                      -
     FST-CV18-G038735-S
NORTEEAST COMMUNITY
BANK v. WH PARCEL II, LLC Et                       J
~Al                                                .,,_
       FST-CV19-G0396!4-S
R.S. SILVER ENTERPRISES,
INC. v. RIV:ERSEDGE
PARTNERS Et Al
                                                   ~
      FST-CVI9-6043445-S
READYCAP COMMERCIAL,
LLC v. WH PARCEL I, LLC Et Al
                                                   ~
       FST-CVl9-6044279-S
Case 3:22-cv-00423-VAB Document 1 Filed 03/22/22 Page 31 of 50




                            EXHIBIT C
                            CONSEQUENTIAL
                            DAMAGES
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    DOCKET NO.: FST-CV16-6029529-S

    HEI,iRY PASC.ARELLA, ET AL.

                                                                          AT STAM.FORD

    ROBERT S1L VER ET AL.                                                 JAl\..,CARY 7. 2021
!

                                   MEIVIORA.'fDUl\1 OF DECISION




    I.     BACKGROr~l)

           This is the latest installment in litigation which has raged between the parties, associated

    entities and their principals since at least 2003 arising _out of a document which the parties refer

    to as a "Participation Agreement" "made and entered into as of March 3, 1997" by Robert

; Silver acting on hehalf of tht~ R.S. Silver & Co. (Silver) 1 and by Henry Pascarella acting both

    inili.vidually and as ·•a managing partner" of 8.P. D. Associates. a Connecticut General

    Partnership? The Participation Agreement provided Silver with. certain rights related to a

    46.()00 square foot office building and property located at 200 Pember-wick Road in Greenwich,



           The rights of R.S. Sflvcr and Company are now owned by the defendant Robert S.
           Silver Enterprises Co .. Inc. R.S. Silver Enterprises Co., Inc. was the plaintiff in
           earlier litigation reforred to herein as the 2006 Action. For-purposes of this
           memorandum "Silver" wiJI be used to rcfor to either R.S. Silver and Company or
           R. S. Silver Enterprises Co., Inc. as the latter is the successor in :interest to the
           former.

           The defendant Riverscdge Partners, a general partnership, was previously known
           ai:; S.P.D. Associates~ a general partnership and referred to as S.P.D. Associates, a
           general partnership, in the Participation Agreement Because it is the same entity
           with a different name all references to the entity will be by its current name
           Riverse<lge Partners.
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Connecticut In general the Participation Agreement, in considera~&flf Sl,2f0.qaQ~d hy
                                                                       ~tf\_L.t.,LJ
 Silver, provided Silver with the right to receive 50%1 of the cash distributions generated by the

property after the payment of certain specified priority payments. Silver ha<l no right to

participate in the management or operation of the property. Pascarella maintained the right to

 manage the property including the right to detennine when and if cash distributions would be

 made, without inte1ference from Silver. The most significant earlier litigation vvas the case of

 R.S. Silver Enterprises, Inc. -v. llemy Pascarella and Riversedge Partners, et aL brought in the

judicial district of Stamford/Nonvalk at Stamford, docket number CV065002499S (hereinafter

 the 2006 Action).

        I--\ critical issue raised by the pleadings in the instant case is whether or not, hy virtue of

 the doctrine of res judicata, t11C: judgment in the 2006 action resolved all of the issues bctv/ccn

 the plaintiffs and Silver arising out of the Participation Agreement, or whether thtl judgment i:l

 the 2006 action adjudicated only Silver's daims fi>r damages arising out of the Participation

 A.!:,ircement through 2008, leaving intact any additional claims that Silver has pursuant to the

 Participation Agreement based on occLL.'Tences subsequent to 2008.

 II.     THE PLEADINGS AND ACTIVITIES IN THE CASE AT BAR

         In their one count complaint the p1aintiffs' allege certain events that preceded the '.'1.006

 action and then allege that the original 2006 complaint asserted five counts against the plaintiffs      1



 arising out of the Participation Agreement including breach of contract,_ breach of fiduciary

 duties, request for an accounting, a claim to windup of the purported partnership that Silver, in

 the 2006 Action, alleged eyisted, a partition of the Pemberwick Road property. Si1ver amended

 his complaint in January of 2009, shortly before the trial of the 2006 action, retaining the breach


                                                    2
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 of contract claim, request for an accounting, breach of fiduciary dtj,..~     ·J\..t:ttDh         ofa

 separate letter agreement. The plaintiffs herein allege that Silver requested, among other claims

 for reiiet: damages a.11d the appoint.111.ent of a receiver. The instant complaint continues that

 ji,dgment in the 2006 Action entered in favor of Silver for a total amount of $1,782,848 plus

 prejudt,ment interest in the amount of$819,475. ThatjtH1!:,1Itlent was affirn1ed on appeal to the

 Connecticut Appellate Court and in March of 2016 the Connecticut Supreme Court denied

 Pascarei1a's and Riversedge Partners' Petition for Certification. The judgment obtained by

 Silver then became final. The comp1aint continues that Silver brought two other actions in 2011

 and 2012. The 2011 Action ·was ;,vith<lrawn. 'The 2012 action asserted t.hat Silver was seeking to

 rec:over distributions under the Participation A!::,-rreement that had accrued to its benefit after

 December 31, 2008 which is the last year for which Silver had introduced evidence of damages

 in the 2006 Action. Pascarella and Riversedge Partners moved for summaty judgment in the

; 2012 action hut Silver withdrew the 2012 action without responding to or objecting to that

 motion for SU11l1'11fil'/ judgment The instant complaint furt.11.er alleges that the plaintiffs have a

 bona.fide concern that the defendant will attempt to commence yet another lawsuit against the

 plaintiffs in an effort to claim that the defendants are entitled to rec.over distributions under the

 Participation A6ircement despite the res judicata effect of the judgment in 2006. The plaintiffc;

 fm"i:her allege that Silver has recently made statements in the real estate market place that he

 continues to hold an interest in the property which creates a cloud on ownership an<l negatively

 impw.,is the abHity of Riversedge .Partners to manage the Pembenvick Road property. In this

 action the plaintif£5 seek a deelaratory judgment that as a result of the entry of judgment in

  favor of the Silver in the 2006 Action, ,vhich judgment liquidated all claims Silver could claim


                                                     3
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under the Participation Agreement, Silver has no continuing or     onsFRt
entitlements whatsoever under the Participation Agreement. The plaintiffs also seek an award of

attorneys foes and other orders as the court deems just improper.

        The defendant in tum filed an amnvcr. spccia1 defonses and counterclaims. ln its ,ms\vor

it pleads insufficient knowledge or denies most of the material allegations of the complaint

other than those relating to matters of record in the 2006 Action.

     Silver's first special defense is that in the 2006 Action Silver only sought damages through

2008 and that SilV<,'f could not have sought damages for future distributions because the

Participation Agreement provided Pascarci1a ·with sok and exclusive discretion as to when cash

·distributions \vould be made. that the court in the 2006 action foimd that the Participation

Agreement was divisible and the defendant was entitled to damages through 2008. The first

special defense continues that SrJver knowingly refrained from asserting rights to argue that the

breach nf the Participation .Agreern1;nt vvas total. Silver's second special defense is that

Pascarella is estoppcd by its prior actions and positions in the 2006 action from asserting that

 their breach of the Participation Agreement was total and indivisible and in its third special

 defonse Silver asserts that the plaintiffs herein are barred hy the doctrines of collateral cstoppel

 and res judicata from asserting that the Participation Agreement i.s not in full force and effect.

        Not surpri.singly1 Silver has asserted a counterclaim seeking a declaratory judgment that

 the Partidpation Agreement is in full force and effect and that based on the doctrines of res

 judicata and collateral estoppel Silver has continuing and ongoing rights under tbe Participation

 A·~2-reemcnt to receive 50% of an cash distributions made after December 31, 2008 and that
 '




 Pascarella is to provide annual operating reports of River.sedge Pa1iners to Silver. In the second


                                                   4
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 count of the counterclaim Silver seeks a constructive trust. In the       t§}!AL                  0
                                                                                                       cs that

 Pascarella has breached the covenant of good faith and fair dcaHng \Vhich is a part ofthe

/ .Participation Agreement In the fourth count Silver seeks an accounting. In its prayer for re.lief

 Silvcr seeks a declaratory judgment, monetary damages, punitive damages, interest on all sums

 awarded as allowed hy law, an accounting and a constructive trust.

           The plaintiffs have filed hvo motions for summary judgment hased on their claims that.

 under the doctrine of reR judicata, Silver· s rights under the Participation Agreement had been

 adjudicated by virtue of the judgment of the 2006 Action. Both Motions for Summary

 J utlgment were denied and plaintiffs. appeals of each denial were dismissed.

           The plaintif:fa herci.i"1 filed a motion to bifurcate the trial which the coUt-t granted.

 Pursuant to the court's order. the trial of the issue of res judicata raised by the pleadings 1.vould

 be bifurcated and held first. That trial occurred on September 30. 2020.

           At the bifurcated t.-i.al on the res judicata issue there were two witnesses. Aldo

 Past:ardla, the son of Henry Pascarella. appeared on behalf of River.sedge Partners. He testified

 that the partnership ·was having difficulty refinancing the property because of the claims that

 Silver was making. He also testified that the property had become financially distressed and that

 the property is cun-ently in foreclosure. Robert Silver testified about his objectives in the 2006

 Action. Tue parties agreed to introduce as evidence multiple ex.hi.hits most of which were either

 exhibits, pleadings or decisions in the 2006 Action. indeed. ultimately the resolution of this

  action   ,vm he based upon the court's determination of the meaning of the filings and the
 judgment in the 2006 Action.




                                                       5
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Ill.    THE 2006 ACTION

        The 2006 action began with a compiaint dated September 15, 2006 in which R.S. Silver

Enterprises Co.} Inc. brought an action against Henry Pascarella and Riversedge Partners

alfo1::,>1.ng that Silver and Pascarella individually and as managing partner of Riversedge Partners

for consideration of $1 )50,000 paid by Silver entered into a written Participation Agreement.

 fa the original 2006 complaint Silver alleges that as a result ofthe conduct of fhe defendants in

 violation of the terms of the participation agreement ''the plaintiffhas been and -..vill continue to

be irrevocab(v harmed for which he has no adequate remedy of lmv." (Emphasis added.) The

second count alleged breaches of fiduciary duty, the third count sought an accounting, the fourth

 1.:ount sought a winding up of the partnership affairs pursuant to C.G.S. § 43-372 (5) on the

grounds that "the economic purpose of the partnership has been :frustrated'', and the fifth count

 referenced an earlier letter agreement which provided the plaintiff therein with a 50% interest in

 the prope1ty and claimed right consistent with that letter agreement.

         The original complaint in its prayer for relief sought monetary damages, court costs~

 interest, an accounting of the partnership assets. a decree dissolving the :partnership in

 accordance with law, a temporary and penmment injunction enjoining the defendants from

 trnnsfening or encumbering any asset of the partnership until further order of the court the

 appointment of a receiver over the affairs oftlw partnership, a partition of the 200 Pemberwick

 Road property and such other relief as the plaintiff may be justly entitled to receive. The

 allegations of the various counts of the original complaint allege that pursuant to the

 Participation Ai;,rreement Silver acquired ··a partnership interest in [Riversedge Partnersr'

 (E~nphasis added.) 'The original complaint further alleged that sin.:e Silver acquired his


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"partnership interesC Pascarella has exclusively ,:ontrolled and    m'SffXtt.tJc
 pa.rtnership without reporting or accounting to Silver.

        Silver filed an amended complaint in the 2006 Action dated November 2L 2017. In the

 November 21, 2007 amended complaint Silver did not allege that it acquired a "partnership

 i:.rteresf' but rather alleged that pursuant to the Participation Agreement it acquired an '·equity

 interest in [Rivernedge Partners]". The amended complaint further alleged that Pascarelfa and

 Riversedge Partners failed to provide Silver with annual operating statements and financial

reports in vioiation of their obligations under the Participation Agreement and that both had

 taken actions inimical to the interest of Silver. The second count of the amended complaint

 sought an accounting: the third count alleged a breach of fiduciary duty by Pascarella. the fourth

 count sought a dissolution and winding up of the affairs ofRiversedge Partners. the fifth count

 asserted a claim in unjust enrichment; the sixth count alleged misrepresentations, the seventh

 count asserted claims based on the written letter agreement dated March 3 which preceeded the

 Participation Agreement, the eighth count alleged a breach of the letter agreement, the ninth

 count alleged an unjust enrichment and the tenth count alleged fraudulent misrepresentations.

        The prayer for relief in the )fovember 21. 2007 amended complaint sought monetary

 damages, court costs, interest, an accounting of the partnership assets, a decree dissolving the

 partnership in accordance with law, a temporary and permanent iajunction enjoining the

 partnership from transferring or otherwise encumbering any asset of the partnership~ an

 appointment of a receiver, a partition by sale of the property and such further relief to which the

 plaintiff was justly entitled.

         However, on January 26, 2009 the plaintiff filed a request for leave to amend the


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        complaint and a proposed amended complaint for the trial of the     2§tJ\.L1!ti:Jan
        shortly thereafter on f ebmary 41 2009 and continued before the court for 10 non-consecutive

        days eventuai1y concluding on March 11, 2009. The January 26J 2009 amended complaint

        became the openrtive complaint for the trial without objection from Pascarella or Riverse<lge

        Partners. The operative complaint in the first count alleged that Silver entered into a written

        a6rrecn:ient entitled the Participation Agreement "vhereby Silver acquired for the sum of

        $1.250,000 an equity interest in Rivcrsedgc Partners. In the first count of the operative

        complaint Silver alleged that as a result of the defendants' breach of the Participation

        Abireement it "has been damaged:' The second count sought an accounting, the third count

        alleged a breach of fiduciary duty on the part of .Pascarella. and the fi)urth count alleged a

        breach of the Yl:arch 3, 1997 letter agreement which preceded the Participation Agreement. Not

        only \Vas the January 26, 2009 complaint paired down in tenns of its allegations and counts, but
I
        the prayer for relief sought monetary damages, punitive damages. interest, an accounting, costs

        and the appointment of a receiver "during the pending (sic) of this action''. The January 26.

        2009 prayer for relief no longer sought a partition of the 200 Ptinberwick Road property or a

        \vinding up of the affairs ofthe partnership. Nor did it seek injuncfrve relief.

                  Prior to the filing of the operative complaint, on May 14. 2018, Silver had filed a

        plaintiffs Disclosure of Expert ·witness disclosing a Certified Public Accountant and disclosing

        the subject matter upon which his expert would testify. That disclosure indicated that the expert

        would testify not only to the cash distrihutious that had been made by Riverscdge Partners (the

\ basis for the amounts due Silver) but also that Riversedge Partners would have the ability to

I continue to make cash distributions of the same or similar amounts for successive years based
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on the same financial assumptions. In the 2006 action the plaintiff   ~-'EAL~D
management order <lated Januar,; 13 1, 2009, and included in its :recitation on the Connecticut law

o.n damages the following quotation: "fU]nless they are too speculative and remote, prospective

profits are allovvahle as an element of damage whenever their loss arises directly from and as a

natural consequence of the breach."

        The plaintiff began the trial ·with the four count operative complaint but at the outset of

the trial the parties agreed that the second count, requesting an accounting, sought a remedy that

would only arise if the plaintiff prevailed on its count one, the breach of contract claim. 'Nith

the agreement of the parties, the court deferred any consideration of the request for an

accounting until after its decision as to liability on the first count. At the conclusion ofthe

plaintiff's case the court dism1ssed count four which was based on the March 3. 1997 letter

agreement because the Partidpation Agreement by its tenns provided that "no prior or

contemporaneous agreement or un<l~rstand.ing pertaining to the same shall be of any fi>rce or

effect". In its thorough 53~pagc decision issued on July 14. 2010 the court (Jennings, J.) found

in favor of Pascarella on the third count sounding in breach of fiduciary .duties. The court in that

decision found in favor of Silver on the first count as to liability only and noted that the parties

 had stipulated that the issue of the accounting would be deferred until the issue ofliability for

 breach of contract had been determined. The court further noted that even though the plaintiff

 did present an expert witness who testified extensively on damages it lVas unclear to the court if

 the plaintiff ,;vas still s_ceking an accounting to develop additiona1 evidence on the issue of

 damages. For that reason the comt made no ruling on damages in its July 14, 2010

 Memorandum of Decision but deferred ruling 011 damages and entered an order requiring the


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plaintiff to file a supplemental memorandum indicating whether        o~1=t rTI1'gs                were

requested on the accounting, and if so fhe scope of such proceedings contemplated by the

plaintiff. The plaintiff was also requested io list in that memorandum each item in the prayer for

relief and demand for relief attached to the January 26. 2009 complaint that it was still seeking.

The court gave the defendants an opportunity to respond to that memorandum and reserved

decis.ion on damages and the accounting until that time. The parties complied with that court

order and on April 25, 2012 the court issued another decision regarding the accounting and the

request for damages on count one. The ;:ourt ruled that an accounting ,vas not necessary and

fbat it would not order an accounting. The comi in its April 25, 2012 Memorandum also ruled

against the plaintiff ·with regard to its request in its prayer for relief tor a receiver. The court

'vVrote ""there is no claim in this case for damages consisting of the plaintiffs half of partnership

distributions after the year 2008." The plaintiff made it clear it \.Vas only seeking an accounting

to develop evidence of damages seeking distributions ·'during those years [2007 and 2008]'".

The court took judicial notice of the action hcgan by Silver on January 11, 2012 subsequent to

the trial of the 2006 action and subsequent to its July 14. 2010 decision against the same

defendants for the breach of the same Participation Agreement claiming damages which

included the aUeged fai1ure of the defendants to pay the plaintiff one half of the cash

 distributiomi resulting from the operation ofRiversedge Partners. The court wrote "to the extent

 the plaintiff is ciaimfog damages incurred in 2009 and thereafter they would be part of the

 damages claimed in that new action .... " This court takes judicial notice of the fact that the

 January 11 1 2012 action referenced by the court bas been withdrawn. The court ultimately ruled

 that Silver was entitled to 50(~,o of the distributions to partners made by Riversedge Partners


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 after certain priority pa:y:ments had been made. The court made    fin~1--trE :t51ose
 distributions based upon the testimony of Silver's expert for 1997, 1998, 2000, 200L 2003;

 2004. 2006. 2007, and 2008, and after accounting for the priority payments to Pascarella and

 other credits, the court concluded that the plaintiff ·was entitled to 50% of the distributions. after

 those priority payments, equal to $1,782~849 plus interest The court specifically itemized the

 distributions that generated that 50% entitlement for 2003, 2004~ 2005, 2006, 2007 and 2008.

 The court awarded interest pursuant Connecticut general statute § 37-3a in the amount of

 $819.475.

 IV.    DISCUSSION

        The heart of the plaintiffs' claim is that "based on the doctrine ofres judicata, Silver ha.s

 no continuing or ongoing rights under the Participation Agreement.'· The plaintiffs assert that 1n

 bringing the 2006 action Silver asserted cla1ms for damages, hoth past and future~ and under

 traditional res judkata principles is ban-ed from bringing this counterclaim or any future actions

 asserting additional claims or rights under the Participation Agreement. Consistent with that

 position the :plaintiff seeks a declaratory judgement that Silver has no continuing or ongoing

 rights under the Participation Agreementi and that it liquidated its claim in the 2006 Action and

 is prohibited from bringing any futu.re actions under or relating to the Participation Agreement.

 Similarly, the plaintiff:q assert as their first special defense to defendant's counterdaim that th~

 counterclaim is barred by the principle ofclaim preclusion under the res judicata doctrine.

   The general princip lcs of the doctrine of res judicata has been summarized by the Connecticut

 Supreme Court as follows.

         Res judicata, or claim preclusion, expresses no more than the fondamental


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         prindple that once a matter has been fu11y and fairly Iitiga ~d P.¥±Yi¼OO~~d
         it comes to rest. Generally for res judicata to apply four cl  ;ir.s.tb:\s.lhel.iklJ
         (1) the judgement must have been rendered on the merits hy a court of competent
         jmisdiction; (2) the parties to the prior and subsequent actions must he the same
         or in privity; (3) there must have been an adequate opportunity to litigate the
         matter fully and (4) the same underlying claim must he at issue.


··wheeler v. Beach.croft, LLC, 320 Conn. 146, 156-157 (2016) (Internal dtations and quotations

omitted).

The parties do not disagree that the first two elements arc present in the case at har. Spec1fical1y

'd1e 2006 Action resulted in a judgment by a court of competent jurisdiction and the patiics to

the 2006 action were the same or in privity ,vith the parties in the present action. Their

disagreement centers on whether o:r not there was an adequate opportunity to litigate the matter

fu11y and whether the same underlying claim is at issue. The plaintiff argues that "[r]es judicata

bars the relitigation of claims actually made in the prior action as 1vell as ar1:v claims that ·might

have been made there. Public policy supports the principle that a party should not be allowed to

relitigate a matter which it already has had an opportunity to litigate:" Id. at 157 (tntcmaI

citations and quotations omitted). In detennining whether subsequent claims are barred under

res judicata principles, Connecticut has adopted a transactional test. Under the transactional test

res judicata extinguishes "all rights ofthc parties to remedies against the defendant ,,,ith respect

to   an or any part of a transaction, or series of connected transactions, out of which the action
arose." Id. at 159 (Internal citations and quotations omitted).

          In Landmark Investment Group, fl,C v. Chung F'cunily Reali~y Partner.ship, LLC, 13 7

 Conn. App. 359 (2012) the Appellate Court had the opportunity to apply traditional res judicata

principles to a breach of contract claim. The Landmark Investment Group case noted that the


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specific issue in the original litigation \nlS the enforceability of a ~~ wirym~1~sale
                                                                       ~ t.._f-\_Ll Dl)
agreement. The uial court had found that the agreement was enforceable and thatthc defendant

had breached it in several ways. The second Landmark Investment Group case alleged a breach

ofthe same contract by vittue the fact that the defondant/seller failed to keep its property taxes

current and that the defendant/seller had allowed the property which was the subject of a

purchase and sale agreement to become subjet.:t to a foreclosure action for failure to pay real

estate property taxes. Notwithstanding significant overlap in the cases and the fact that the seller

was in arrear~ in his property tax at the time of tbe trial of the original action, the court found

that the cases were sufficiently distinct "'to elude the application ofthe doctrine ofres judicata·'

Id. at 368. The court dete11ni:..11ed that the event which constituted the breach in the second adion

(the irlstitution of a property ta,'( foreclosure action) had occurred after the judgment alleged by

 the defendants to have preclusive effect. The Landmark Investment Group court vvrote:

        Pursuant to a comment to the Restatement section articulating the transactional
        test for res judicata, which Connecticut cases employ, [tn]aterial operative facts
        occurring after the decision of an action ,vith respect to the sa.'Ile subject matter
        may in themselves, or taken in conjunction with the antecedentJi:u::ts, comprise a
        transaction which may be the basis of a second action not precluded by the first .

Landmark h1,vestment Group. LLC at 368, citing 1 Restatement (Second), Judgments § 24. (f).

 See also Cadle Company v. Gable, 69 Co1u1. App. 279 (2002).

        In the instant case Silver argues that his claims are not baned by the doctrine of res

 judicata because they concern breaches of the Participation Agreement that occurred after the

 trial of the 2006 Action. Moreover. Silver claims that he could not have proceeded to clairn

 foture damages at the tnal of the 2006 Action because under the express terms of the

 Participation Agreement he was only entitled to 50% of the cash distributions. but that the


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     determination as to issue cash detem:iinations was solely within    th~r~ _iE!j                of

j Pascarella. The issue before this court is somewhat complicated by virtue of the changes in the
'l      .
     various comp1aints and other documents filed by Silver during the 2006 Action. While the

     initial complaint references a partnt->rship intere.st and seeks a decree dissolving the partnership

     and a part.ition of the subject property, by the time the case was tried Silver hacl filed a

     significantly paired down complaint -,,vhich did not aUegc a partncrshi:p agreement but alleged D.

! breach of the Participation Agreement. The court in the 2006 action adjudicated the first count
     of the four-count amended complaint as a simple breach of contract claim. In applying the

     principles of res judicata more weight must be placed on the operative complaint 1iport which

     fue parties went to trial, particularly vvhen there was no objection to the amendment to the

I complaint.
l            In determining the applicability of the prcclusivc effects of res judicata. the court cannot

     ignore the substanfrve lm,v of contracts applicable to the 2006 Action. The intersection of these

     principles can best be explained by reference to the Yatious principles set forth in the

     Restatement of Law (Second) relating to bothjud6,ments and contracts. Section 24 of the

     Restatement (Second) on Judgments in subsection (1) states: "When a valid and final judgment

     rendered in an action extinguishes the plaintiffs claim pursuant to the rule of merger or har ...

     the claim extinf,ruishcd includes all rights of the plaintiffto remedies against the defendant with

     respect to all or any part of the transaction, or series of connected transactions. ont of which the

     action arose." However, § 26 outlines certain circumstances when the general rule of§ 24 does

 l   not apply to extinguish the claim. The commentary to section 26 observes the following:

 I           g. Comracts - plaint{ffs option in case ofmaterial breach. A judgment in an


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         action for breach of contract docs not nonnally preclude th~~ti~ 1              ,
         thereafter maintaining an action for breaches of the same c~~....~            ·~
         failure to render perfonnance due after commencement of the first action ....
         But if the initial breach is accompanied or followed by a ·'repudiation" (see
         Restatement (Second) Contracts, section 250), and the plaintiff thereafter
         commences an action ·for damages he is obliged to avoid "splitting", to claim all
        his damages with respect to the contract, prospective as well as past and
        judgmr;:mt in the action precludes any further action by the plaintiff for damages
        arising from the contract.
 Restatement (Second) Jud_gments § 26 comment (g).

         ln the absence of further clarification, an argument could be made that the nature of

 Pascardfa's and Riversedge Partner·s conduct and action prior to the 2006 litigation and ·.vithin

, the 2006 litigation constituted repudiation and therefore required the plaintiff to bring his claim

 for past and future damages or suffer the preclusive effect of res judicata. Hoi,vever, regardless

 of whether PascarcIJa' s conduct constituted repudiation, the rights of Silver are impacted by the

 principles ofla·w set forth in the Restatement (Second) Contracts § 243. Section 243 is entitled

 ''Effect of a Breach by Non-Performance as Giving Rise to a Claim for Damages for Total

 Breach". Subsection (3) states:

         (3) Where at the time of the breach the only remaining duties of performance a.re
         those of the party in breach and are for the payment of money in installments not
         related to one another. his breach by non-performance as to less than the whole,
         1vhether or not accompanied orJollm-ved by a repudiation~ does not give rise to a
         claim frir damages for total breach.


 Restatement (Second) Contracts§ 243 (3) (Emphasis added)

         17. the present case at the time of the 2006 litigation. Silver had completely perfonned its

 obligations under the contract which in effect were limited to the payment ofSl,250,000. The

 only obligations left pursuant to the Participation Agreement ;,vere obligations of Pascarella and

 Riversedge Partners who were obligated to pay money to Silver, not in installments, but as such


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 time as they took cash distributions. Because Silver had completelt41e~ormed his o~Jlllat1011s
                                                                      ~EAT,Eu
 under the contract and the only remaining duties of pt-Ttonnancc were those ofPascarella and

 Riversedgc Partners who were in breach, under the rule referenced in the Restatement, Silver

 could not have brought an action for total breach, or at least had the rig11t to elect a remedy to

 sue for partial breach and insist upon perfonnance of the contract in the future 3. That position is

 reflected in the operative complaint in the 2006 action, the evidence actually elicited at trial and

 both the July 14, 2010 and Apdl 25, 2012 .\1t->rnorandums of Decision.

        Of similar import are the holdings in cases such as Prime Afanagement Co. hzc v.

 Steinegget, 904 F. 2d 811 (1990) and Teclmomarine SA v. Gijtports. lnc., 758 f. 3d. 493

. (2014). In Prime lvlcmagement the court wrote:

        While a previous judgment may preciude a litigation of claims that arose "prior
        to its entry, it cannot he given the effect of extinguishing claims which did not
        even then exist and which could not possibly have been sued upon in the
        previous case." ... Thus, when the parties have entered into a contract to be
        ptrform1;d over a period of time and one party has sued for a breach, res judicata
        will preclude the party~ s subsequent suit for any claim of breach that had
        occurred prior to the first suit; it will not, however, bar a sub.sequent suit for any
        breach that had not occurred when the first suit was brought.


 Prime ]J,Janagement at 816. Thus the Prinze ]l,Janagement court allowed a landlord to bring a

 subsequent action for rent due subsequent to the initial action even though the initial actions

 involved disagreements as to the methodology for calculating rent. Similarly, in Technomarine

 the court wrote "1:vhen a subsequent action involves a claim over ongoing conduct and it relies



 3
        But see Restatement (Second) Contracts, section 243, comment (d), \Vhich
        observes other remedies which might be available to a non breaching party such
        as reiiance on an acceleration clause. The Participation Agreement contains no
        such acceleration ciause.

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 on facts that occurred both before and after the earlier action com11-1~f~d, claim           clusion will
                                                                          ~L-_i\L D
 not bar a suit ... based upon legally si!:-111ific;mt acts occurring after the filing of a prior suit that

 ,vas itself based upon earlier acts." Teclznomarine at 501.

         This is not to say that the doctrines ofres judicata and co!Jateral estoppe1 can not

[ provide efficiencies to the parties and the court in this litigation. \\1hlle the doctrine of res

 judicata (or claim preclusion) will not result in preclusion of S1lvcr's claim~ the doctrine of

 coliateral estoppel {or issue preclusion) may preclude the plaintiffs from relitigating any issues

 relating to the enforceability of the Participation Agreement.4 See also Klein v. John Hancod;;

 .ilfutual L!fe insurance Cmnpa,% 683 F. 2nd 358 (1982)

         There is an additional and perhaps simpler reason why the plaintiffa cannot prevail on

 their daims based upon res judicata based upon a principle also set forth in clear language in

 the Restatement (Second) Judgments. Section 26 entitled "Exceptions to the General Rule

 Concerning Splitting'', states in pertinent part:

         (1) when any of the following circumstances exist, the general rule of§ 24 does
         uot apply to extinguish the c!aim, and part or all of the claim subsists as a
         possible basis for a second action by the plaintiff against the defendant: ... (b)
         The court in the first action has express~v reserved the plaint~({'s tight to
         maintain the second action. . . .

 Restatement (Second) Judgments§ 26 (Emphasis added). In its subsequent Memorandum of

 Decision dated April 25, 2012 regarding damages and in pa.rticular in response to Silver's

 request for a. receiver the court wrote:

 4
         The court will not now decide the applicability of the doctrine of collateral
         estoppe1 to issues that may or may not be raised by the plaintiff because it had
         previously bifurcated the trial limiting the issues in this portion of the case to res
         judicata issues and there arc special defenses alleged by the plaintiffs that may
         impact the resolution of that issue.

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       That request for appointment of a receiver is denied for sev             1¥-· F:;tAd
       foremost, it has not been pleaded and consequently has no                !L. Ji!:fl
       is no claim in this case for damages consisting of plaintiff's half of partnership
       distributions after the year 2008. In the same brief that requests the receivership,
       plaintiff made it dear that it was only seeking an accounting to develop evidence
       of damages relating to distributions ;,during [2007 and 2008].~· Finally, the court
       takes judicial notice of a new related civil action returnable to this court on
       January 11, 2012 (Do,~ket No. CV11-5013782S) commenced by the plaintiff
       against these same defendants for breach of the same Participation Agreement,
       claiming d&-nages which include the alleged failure of defendants ·to pay to the
       plaintiff one half of the cash distributions resulting from the operations of
       [Riversedge Partners].' To the extent that the plaintiff is claiming damages
       incurred in 2009 and thereafter they woukl be part of the damages claimed in
       that new action, 1,vhich has a claim for the appointment of a receiver during the
       pendcncy of the action.


2006 Action, Memorandum of Decision dated Apiil 25, 2006 (Jemungs, J.) at 9-10. (Internal

quotations ai1d citations omitted). Thus, Judge Jennings expressly reserved to Silver the right to

proceed with his damages claims in the later action. For purposes ofthe application of the res

judicata doctrine it does not matter that the originaUy referenced particular action has been

withdrawn. What matters is that Judge Jennings expressly reserved to the plaintiff the right to

maintain a second action.

       There may or may not be other defenses available to Pascarella based on Silver's

conduct between 2009 and the present time but the defense of res judicata is not applicable

because Judge Jennings acknowledged the pendency of a subsequent case and acknowledged

Silver's right to pursue a claim for damages that arose as a result of post 2008 conduct which

was in breach of the obligations arising out of the Participation Agreement. This was done in

the face of conflicting positions of the parties in the 2006 action as to vv·hether or not the

plaintiff could proceed in its claim for prospective damages in the 2006 action.



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       \Vhik the parties have not cited nor has the court found cm~~1~~icr ,~~hich
                                                                       ~   t .._t-\..j_t t:, _U
have expressly adopted the principles set forth in § 26 (1 )(b) of the Restatement (Second)

Judt;1tnents, this court believes that the principle is sound and particularly applicable to the facts

of the case at bar. Thus, in addition to the prior reasons based upon Silver's contract rights.

because Judge Jennings, in his Memorandums of Decision, expressly provided for the plaintiff

to proceed in a separate action for damages subsequent to 2008~ this court will not bar Silver

from pursuing claims for subsequent breaches in accordance wit11 the express language of that

earlier Memorandum of Decision.

        CONCLUSION

        For all these reasons the court rnles that the plaintiffs cannot prevail on their claim hased

upon res judicata principles and that the doctrine of res judicata will not bar the claims asserted

in Silver's counterdaim. The matter is continued for further proceedings consistent with this

opinion.




 - ~ ..J e-,~:rr~~ ,~
                                                                Genuario, J.
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  '""St>~y S~".r-r,\"9fi 1•


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